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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

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 ESTATE OF YAEL BOTVIN, et al.,

                                   Plaintiffs,                            Docket No:
                                                                          21-cv-3186 (RCL)
                           -against-

 HEIDEMAN, NUDELMAN & KALIK, P.C., et al,

                                   Defendants.

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        MOTION BY PLAINTIFFS FOR EXTENSTION OF TIME TO RESPOND
                   TO DEFENDANTS’ MOTION TO DISMISS

        This is a legal malpractice action. Plaintiffs are the estate of the victim of a terrorist attack

and her survivors, who are suing the lawyers who represented them in litigation arising out of that

terrorist attack. Plaintiffs claim that due to Defendants’ malpractice they “missed the boat” and did

not recover money that other victims of the same terrorist attack recovered and that they could

have recovered too but for Defendants’ malpractice.

        This action was commenced on September December 6 2021. Five months prior to

commencing this action, on June 9, 2021, the undesigned provided a draft of the complaint to

Defendants’ counsel, in the hopes that perhaps a pre-suit resolution could be reached. In fact, the

parties agreed to attempt to resolve this case in mediation before Kenneth Feinberg, Esq., and a

mediation session was held November 14, 2021. When the case could not be resolved in mediation,

this action was commenced on December 6. On December 13, 2021 Defendants signed the Fed.

R. Civ. P. 4(d) waiver of service form, thereby obtaining 60 days to respond to the complaint. On

February 11, 2022, the last day of that 60 day period, Defendants filed a motion to dismiss.
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       Thus, Defendants had the actual filed complaint for over two months, had the draft

complaint for over eight months, and thus had an extremely generous amount of time to craft their

response to the complaint.

       Pursuant to Local Rule 7(b), Plaintiffs’ opposition papers would be due 14 days after the

motion was filed, which works out to February 25, 2022.

       On February 15, 2022 Plaintiffs’ counsel emailed Defendants’ counsel asking him to

consent to a briefing schedule incorporating a 35 day extension of time for Plaintiffs to oppose the

motion. Plaintiffs proposed that their opposition would be due April 1, 2022, and Defendants’

reply due in however much time defense counsel feels he needs. Even with the extension, Plaintiffs

would have far less time than Defendants had to draft the motion, but the extension would allow

Plaintiffs’ counsel to respond to the motion without unnecessary time constraints or interference

with other work on Plaintiffs’ counsel’s plate.

       Defense counsel’s response was that he was “a little reluctant to extend out that far” but

proposed opposition papers to be submitted by March 14. Defense counsel offered no explanation

as to why the extra two weeks requested by Plaintiffs makes him “reluctant.” There is no possible

way that another two weeks to respond to the motion (April 1 versus March 14) prejudices

Defendants. From Plaintiffs’ perspective, though, given the extraordinary amount of time

Defendants had to review the complaint before filing their motion, depriving Plaintiffs of the time

they request to do a proper job seems unfair.

       Accordingly, it is respectfully requested that the due date for Plaintiffs’ opposition papers

be set for April 1, 2022. Defense counsel’s email indicated he wants two weeks for his reply, so

the deadline for Defendants’ reply should be April 15.

       Plaintiffs thank the Court for its attention to this matter.




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Dated:   Brooklyn, New York
         February 16, 2022
                                           Respectfully submitted,

                                           THE BERKMAN LAW OFFICE, LLC
                                           Attorneys for Plaintiffs


                                           by:
                                                 Robert J. Tolchin

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                                    CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on the date indicated below a true copy of the foregoing was
served via ECF on all counsel of record herein:


Dated:    Brooklyn, New York
          February 16, 2022

                                                         Robert J. Tolchin
